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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                       -   -   -   -   X


 UNITED STATES OF AMERICA

          - v. -                                           SUPERSEDING
                                                           INFORMATION
 JAMES PATTERSON,
                                                           S4 20 Cr. 188 (JSR)
                      Defendant.




                               -   -   -   -   -   -   X


                               COUNT ONE
                   (Conspiracy to Commit Bank Fraud)

     The United States Attorney charges:

     1.    From at least in or about 2016, up to and including in

or about 2019, in the Southern District of New York and

elsewhere, JAMES PATTERSON, the defendant, and others known and

unknown, willfully and knowingly combined, conspired,

confederated, and agreed together and with each other to commit

bank fraud, in violation of Title 18, United States Code,

Section 1344.

     2.    It was a part and object of the conspiracy that JAMES

PATTERSON, the defendant, and others known and unknown,

willfully and knowingly, would and did execute, and attempt to

execute, a scheme and artifice to defraud a financial

institution, the deposits of which were then federally insured,

and to obtain moneys, funds, credits, assets, securities, and
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other property owned by, and under the custody and control of,

such financial institution, by means of false and fraudulent

pretenses, representations, and promises, in violation of Title

18, United States Code, Section 1344, to wit, PATTERSON

participated in a scheme to deceive financial institutions and

other financial intermediaries-including federally insured

banks-into processing and authorizing payments to and from

marijuana sale and delivery businesses, on the one hand, and

their customers in the United States, on the other, by

disguising those transactions to create the false appearance

that they were unrelated to the purchase of marijuana, and

thereby to obtain money of, or under the custody and control, of

those financial institutions and intermediaries.

           (Title 18, United States Code, Section 1349.)

                         FORFEITURE ALLEGATION

     3.    As a result of committing the offense alleged in

Count One of this Information, JAMES PATTERSON, the defendant,

shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 982 ( a) ( 2) (A) , any and all property

constituting, or derived from, proceeds obtained directly or

indirectly, as a result of the commission of said offense,

including but not limited to a sum of money in United States

currency representing the amount of proceeds traceable to the

commission of said offense.


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                      Substitute Assets Provision

     4.      If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.   cannot be located upon the exercise of due

diligence;

             b.   has been transferred or sold to, or deposited

with, a third person;

             c.   has been placed beyond the jurisdiction of the

Court;

             d.   has been substantially diminished in value; or

             e.   has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section      853(p) and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property




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of the defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code, Section 981;
            Title 21~ United States Code, Section 853; and
             Title 28, United States Code, Section 2461.)




                                       United States Attorney
                                       Southern District of New York




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                UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                                v.

                         JAMES PATTERSON,


                                                 Defendant.




                   SUPERSEDING INFORMATION

                     S4 20 Cr. 188 (JSR)

                     (18   u.s .c . § 1349 . )



                                     AUDREY STRAUSS
                             United States Attorney .
